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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION




UNITED STATES OF AMERICA          )
                                  )
    v.                            )      CRIMINAL ACTION NO.
                                  )        2:94cr62-MHT
NATHANIEL SALERY                  )             (WO)

                                ORDER

    Upon an independent and de novo review of the record,

including    the    recommendation        of    the    Retroactivity

Screening Committee, which is adopted, it is ORDERED that

defendant Nathaniel Salery’s motion for reduction of

sentence (doc. 1960) is denied.

    The United States Sentencing Commission’s retroactive

amendment to the Sentencing Guidelines applicable to

criminal cases involving cocaine base or crack cocaine

does not apply to Salery’s guideline sentence because it

was not based on a crime involving cocaine base or crack

cocaine.    Salery is ineligible under the retroactive

amendment because his life sentences were calculated
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based   on    the     quantity      of    cocaine      hydrochloride

attributable to him.

    DONE, this the 25th day of September, 2008.


                             /s/ Myron H. Thompson
                          UNITED STATES DISTRICT JUDGE
